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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

GEOTAG, INC.,                        §
      Plaintiff,                     §
                                     §
v.                                   § CASE NO. 2:13-cv-63-JRG
                                     § LEAD CASE
KRONOS, INC.,                        §
      Defendant.                     §
                                     §
                                     §

GEOTAG, INC.,                        §
      Plaintiff,                     §
                                     §
v.                                   § CASE NO. 2:13-cv-64-JRG
                                     §
ONTARGETJOBS, INC.,                  §
      Defendant.                     §
                                     §
                                     §

GEOTAG, INC.,                        §
      Plaintiff,                     §
                                     §
v.                                   § CASE NO. 2:13-cv-65-JRG
                                     §
ORACLE CORPORATION, et al.,          §
      Defendants.                    §
                                     §
                                     §

GEOTAG, INC.,                        §
      Plaintiff,                     §
                                     §
v.                                   § CASE NO. 2:13-cv-66-JRG
                                     §
PEOPLE ANSWERS, INC.,                §
       Defendant.                    §
                                     §
                                     §
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                                  CONSOLIDATION ORDER

       Accordingly, each of the above-captioned cases is hereby ORDERED to be

CONSOLIDATED for all pretrial issues (except venue) with the first-filed action, Cause No.

2:13-cv-63. All parties are instructed to file any future motions (except relating to venue) in the

first-filed case. Individual cases remain active for venue determinations and trial. The Court

will enter one docket control order, one protective order, and one discovery order that will govern

the entire consolidated case. All parties to the consolidated case are ordered to meet-and-confer

following the upcoming August 8, 2013 scheduling conference to discuss the entry of uniform

docket control, protective and discovery orders, which will govern the consolidated case,

regardless of whether the same have previously been entered in individual actions. The local

rules’ page limitations for Markman briefs and other motions will apply to the consolidated case.

To further promote judicial economy and to conserve the parties’ resources, the Court encourages

the parties to file a notice with the Court in the event that there are other related cases currently

pending on the Court’s docket that may also be appropriate for consolidation with this case.

         So Ordered and Signed on this


         Jul 31, 2013




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